                      Case 4:05-cr-00305-SWW Document 1258 Filed 02/04/13 Page 1 of 3

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                                                                                                                                RKANSAS
                                            United States District Court                                      FEB 04 2013
                                                                                                          JAM~
                                                                  for the
                                                                                                         By._~wm~
                                               Eastern District of Arkansas

                             Request for Modifying the Conditions or Term of Supervision
                                            with Consent of the Offender
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  Name of Offender: James Frederic Howard                                                    Case Number: 4:05CR00305-0 19 SWW
  Name of Sentencing Judicial Officer:          Honorable Susan Webber Wright
                                                United States District Judge
  Original Otlcnsc:            Conspiracy to Distribute More Than SO Grams of Methamphetamine
  Date of Sentence:            April9, 2007
  Original Sentence:           42 months Bureau of Prisons, 4 years supervised release, mandatory drug testing,
                               substance abuse treatment, and $100 special penalty assessment

                               August 23, 2012: Conditions modified to include residential re-entry center (RRC)
                               placement for a period of three (3) months

  Type of               Supervised        Date Supervision Commenced: December 18, 2009
  Supervision:          release           Date Supervision Expires: December 17, 2013
   U.S. Probation                         Asst. U.S.                                                   Defense
   Officer: Tabitha L. Mitchell           Attorney: Jana Harris                                        Attorney: Lisa Peters

                                              PETITIONING THE COURT

D             To extend the tenn of supervision for _ _ year(s), for a total tenn of _ _ years.
11!1          To modifY the conditions of supervision as folJows:

              The defendant shall participate in Moral Reconation Therapy (MRT) under the guidance and
              supervision of the U.S. l,robation Office.


                                                                 CAUSE

On August 23, 2012, Mr. Howard's conditions were modified to include residential re-entry center (RRC) for a
period of three months. On September 18, 2012, Mr. Howard entered the City of Faith. While at the City of
Faith. he rccei\'cd I 0 incident reports. On November 19, 2012, he was unsuccessfully discharged for violating
program rules. Mr. Howard was observed driving a personal vehicle without authorization. Mr. Howard
admitted to driving a personal \'ehicle but stated he used the vehicle to get to and from work. Mr. Howard
admitted to having problems with following instructions and making good decisions. Moral Rcconation
Thempy will afford Mr. Howard the opportunity to learn how to make good decisions and to learn how to
change his way of thinking.
               Case 4:05-cr-00305-SWW Document 1258 Filed 02/04/13 Page 2 of 3

Probl213                                               -2-                               Request for Modifying the
                                                                                Conditions or Terms of Supervision
                                                                                      with Consent of the Offender

Name of OtTender: .lames Frederic Howard                                 Case Number: 4:05CR00305-019 SW\V


On January 14, 2013, Mr. Howard agreed to have his conditions modified. He executed the attached Prob 49,
waiving his right to a hearing. Assistant Federal Public Detender Lisa Peters was contacted. and she was also in
agreement with the modification.




 Tabitha 1.. Mitchell                                            Jana Harris
 U.S. Probation Officer                                          Assistant U.S. Attorney

 Date: January 28, 2013                                          Date:    I- ~ "8".,     13

Approved:




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This torm is to be filed with Criminal Docketing as a motion.


THE COURT ORDERS:
o NoAction
o '[he Extension of Supervision as Noted Above
~rhe Modification of Conditions as Noted Above
o Other

                                                             a~QA_&-lf#-
                                                                 Signaturc of Judicial Offlcer


                                                                 Date

This lorm is to be filed with Criminal Docketing as an order and/or petition.

c: Assistant Federal Public Defender, Lisu Peters, 1401 West Capitol Avenue. Suite 490, Little Rock, AR
   72201
   Assistant lJ .S. Attorney, Jmm Harris, P.0. Box 1229, Little Rock, AR 72203
          Case 4:05-cr-00305-SWW Document 1258 Filed 02/04/13 Page 3 of 3




f'R0849
                                  Waiver oftlcaring to Modify Conditions
                      of Probation/Supervised Release or Extend Tenn of Supervision

                        UNITED STATES DISTRICT COURT
                                    for the
                        EASTERN DISTRICT OF ARKANSAS

       I have been advised and understand that I am entitled by law to a hearing and assistance
of counsel beti.Jre any unfiworable change may be made in my Conditions of Probation and
Supervised Release or my period of supervision being extended. By 'assistance of counsel', I
understand thut I have the right to be represented at the hearing by counsel of my own choosing if
I am able to retain counsel. I also understand that I have the right to request the Court to appoint
counsel to represent me at such a hearing at no cost to myself if I am not able to retain counsel of
my own choosing.

        I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel.
also agree to the following modification of my Conditions of Probation and Supervised Release
or to the proposed extension of my term of supervision:

The defendant shall participate in Moral Rcconation Thcrnpy (MRT) under the guidnncc
nnd supen•ision of the U.S. l,robntion Oflicc.




                                                 DATE
